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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

 

 

)
ALDEN DISCKSON SMITH, )
Plaintiff, )
) Civil Case 18-10461
v. )
)
PATRIOT PARTY )
BOATS, INC., )
Defendant. )
)
COMPLAINT

Nh

GENERAL FACTUAL ALLEGATIONS

The Plaintiff, Alden Dickson Smith, is a resident of North Falmouth, County of
Barnstable. Commonwealth of Massachusetts.

The Defendant, Patriot Party Boats, Inc., is a domestic, for profit corporation,
duly organized and existing under the laws of the Commonwealth of
Massachusetts, with a principal place of business in Falmouth, County of
Barnstable, Commonwealth of Massachusetts.

On or about March 12 2015, the Defendant. Patriot Party Boats, Inc., was doing
business within the Commonwealth of Massachusetts.

On or about March 12, 2015, the Plaintiff, Alden Dickson Smith, was employed
by the Defendant, Patriot Party Boats, Inc..

On or about March 12, 2015, the Plaintiff, Alden Dickson Smith, was employed
by the Defendant, Patriot Party Boats, Inc.. as a seaman, and as member of the
crew of the M/V QUICK WATER.

On or about March 12, 2015, the Defendant, Patriot Party Boats, Inc., owned the
M/V QUICK WATER.

On or about March 12, 2015, the Defendant, Patriot Party Boats, Inc., operated
the M/V QUICK WATER.

On or about March 12, 2015, the Defendant, Patriot Party Boats, Inc., or the
Defendant's agents, servants, and/or employees, controlled the M/V
QUICK WATER.
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11.

14.

16.

On or about March 12, 2015, the M/V QUICK WATER was in navigable waters.

. On or about March 12, 2015, while in the in the performance of his duties in the

service of the M/N QUICK WATER, the Plaintiff, Alden Dickson Smith,
sustained personal injuries.

Prior to and at the time he sustained the above-mentioned personal injuries, the
Plaintiff, Alden Dickson Smith, was exercising due care.

JURISDICTION

. This Court has subject matter jurisdiction over this matter pursuant to The

Merchant Marine Act of 1920, commonly called the Jones Act. 46 U.S.C. §30104

. This Court has subject matter jurisdiction over this matter pursuant to 28 U.S.C.

$1331 and 28 U.S.C. $1333.

COUNT |
Alden Dickson Smith v. Patriot Party Boats, Inc.
(JONES ACT NEGLIGENCE)

The Plaintiff, Alden Dickson Smith, reiterates the allegations set forth in
paragraphs 1 through 13 above.

. The personal injuries sustained by the Plaintiff, Alden Dickson Smith, were not

caused by any fault on his part but were caused by the negligence of the
Defendant, its agents, servants and/or employees.

As a result of said injuries, the Plaintiff, Alden Dickson Smith, has suffered pain
of body and anguish of mind, lost time from his usual work and pursuits, incurred
medical expenses, and has sustained and will sustain other damages as will be
shown at trial.

. This cause of action is brought under the Merchant Marine Act of 1920,

commonly called the Jones Act.

WHEREFORE, the Plaintiff, Alden Dickson Smith, demands judgment against the
Defendant, Patriot Party Boats, Inc., in an amount to be determined by a jury together

with interest and costs.
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COUNT I
Alden Dickson Smith v. Patriot Party Boats, Inc.
(GENERAL MARITIME LAW - UNSEAWORTHINESS)

18. The Plaintiff, Alden Dickson Smith, reiterates the allegations set forth in
paragraphs | through 17 above.

19. The personal injuries sustained by the Plaintiff. Alden Dickson Smith, were due to
no fault of his, but were caused by the Unseaworthiness of the M/V
QUICKWATER.

20. As a result of said injuries, the Plaintiff, Alden Dickson Smith has, suffered pain
of body and anguish of mind, lost time from his usual work and pursuits, incurred
medical expenses, and has sustained and will sustain other damages as will be
shown at trial.

21. This cause of action is brought under the General Maritime Law for
Unseaworthiness and is for the same cause of action as Count I.

WHEREFORE. the Plaintiff, Alden Dickson Smith, demands judgment against the
Defendant, Patriot Party Boats, Inc., in an amount to be determined by a jury together
with interest and costs.

COUNT Il
Alden Dickson Smith y. Patriot Party Boats, Inc.
(GENERAL MARITIME LAW - MAINTENANCE and CURE)

22. The Plaintiff, Alden Dickson Smith, reiterates all of the allegations set forth in
Paragraphs | through 21 above.

23. As a result of the personal injuries described in paragraph 11 above, the Plaintiff,

Alden Dickson Smith, has incurred and will continue to incur expenses for his
maintenance and cure.

WHEREFORE. the Plaintiff, Alden Dickson Smith, demands judgment against the
Defendant, Patriot Party Boats, Inc.. for maintenance and cure, together with costs and
interest.

THE PLAINTIFF DEMANDS A TRIAL BY JURY ON ALL ISSUES SO

TRIABLE.
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Dated: March 8, 2018

Respectfully submitted,
The Plaintiff, ALDEN DICKSON SMITH,
By his Attorneys,

COLUCCI, COLUCCI, MARCUS & FLAVIN, P.C.

/s/ Darin M. Colucci

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